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                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE


In re:                                                       )        Chapter 11
                                                             )
W.R. GRACE & CO., et al.,1                                   )        Case No. 01-1139 (JKF)
                                                             )        Jointly Administered
                          Debtors.                           )

                         STIPULATION RESOLVING CLAIMS OF
                   MADISON COMPLEX, INC. (CLAIM NOS. 6079 AND 18499)

           This stipulation (“Stipulation”) is entered into this 15th day of July 2009, between

W. R. Grace & Co. (“Grace”) and its affiliates (collectively, the “Debtors”) and Madison

Complex, Inc. (“Claimant”).

           WHEREAS, on April 2, 2001 (the “Petition Date”), the Debtors commenced their

respective reorganization cases by filing voluntary petitions for relief under chapter 11 of the

Bankruptcy Code.




1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ’N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners
I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a
GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-
BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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           WHEREAS, on April 22, 2002, the Bankruptcy Court issued its Order as to all Non-

asbestos Claims, Asbestos Property Damage Claims, and Medical Monitoring Claims: (I)

Establishing Bar Date, (II) Approving Proof of Claim Forms and (III) Approving Notice

Program (the “Bar Date Order”), which established March 31, 2003 as the Bar Date for the filing

of certain pre-petition (a) non-asbestos, (b) asbestos property damage, and (c) medical

monitoring claims. [Docket No. 1963].

           WHEREAS, on or about March 26, 2003, Claimant filed a proof of claim (“Claim

No. 6079”) against the Debtors asserting a contingent unliquidated claim for potential

environmental liabilities to the United States Environmental Protection Agency stemming from

Madison Complex’s prior ownership of a vermiculite expanding facility in Minneapolis,

Minnesota, which Madison Complex allegedly purchased from Grace in October 1989 and sold

in October 2006.

           WHEREAS, on or about January 30, 2008, Madison Complex filed Claim No. 18499

asserting a liquidated claim in the amount of $779,372.60 for economic damages that Madison

Complex allegedly suffered through diminished rental and sales proceeds from the property it

purchased from Grace.

           WHEREAS, on or about May 22, 2009, the Debtors filed their Substantive and Non-

Substantive Objection to Claims filed by Madison Complex, Inc., in which the Debtors sought to

disallow and expunge Claim No. 6079 and Claim No. 18499.

           WHEREAS, the Debtors and Claimant have now agreed to settle Claim No. 6079 and

Claim No. 18499 on the terms and conditions set forth herein.

           NOW, THEREFORE, after a thorough review of Claim No. 6079 and Claim No. 18499,

discussion and negotiations, for good and valuable consideration, the parties hereby stipulate and

agree as follows:


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           1.      Claim No. 6079 shall be disallowed and expunged for all purposes.

           2.      Claim No. 18499 shall be allowed as an unsecured, pre-petition, non-priority

claim against the chapter 11 estates of the Debtors in the amount of $49,500. Claimant shall not

be entitled to pre-petition or post-petition interest on Claim No. 18499 with respect to any period

prior to the effective date of a confirmed chapter 11 plan or plans with respect to the Debtors (the

“Plan”). Claim No. 18499 shall be paid in the same manner as all other similarly situated

General Unsecured Claims pursuant to the Plan (except with respect to the payment of interest as

described above).

           3.      Upon execution of this Stipulation by all parties, the Debtors shall direct their

claims agent, Rust Consulting, Inc., to mark the Debtors’ claims register to reflect that Claim No.

18499 referenced above shall be allowed as outlined herein.

           4.      Claimant agrees that it is forever barred, estopped, and enjoined from asserting

any additional claims against the Debtors other than enforcement of the obligations of the

Debtors set forth in this Stipulation.

           5. The parties shall take whatever additional action, if any, is necessary to make sure

that Claim No. 6079 is disallowed and expunged for all purposes and that Claim No. 18499 is

allowed as outlined herein.

           6.      Pursuant to the Amended Order Authorizing and Approving an Omnibus

Procedure for Settling Certain Claims and Causes of Action Brought by or Against the Debtors

in a Judicial, Administrative, Arbitral or Other Action or Proceeding [Docket No. 936], dated

September 18, 2001 (the “Settlement Order”) no approval of this Stipulation by this Court is

required and upon execution of this Stipulation by the parties, the Stipulation shall be binding

upon all parties including the Debtors.




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           7.      Pursuant to the Settlement Order, upon execution of this Stipulation by the

parties, the Stipulation shall be binding upon all parties, including the Debtors.

           8.      Each party executing this Stipulation represents that such party has the full

authority and legal power to do so. This Stipulation may be executed in counterparts and each

such counterpart together with the others shall constitute one and the same instrument. The

parties further agree that facsimile signatures hereon shall be deemed to be original signatures.

This Stipulation shall be binding upon and inure to the benefit of each of the parties, and upon

their respective assignees, successors and/or partners, including, but not limited to any trustee(s)

appointed in the Bankruptcy Cases.

           9.      If for any reason this Stipulation does not become effective as outlined in the

Settlement Order, then (a) this Stipulation shall be null and void and the parties shall not be

bound hereunder or under any documents executed in connection herewith; (b) the parties shall

have no liability to one another arising out of or in connection with this Stipulation or under any

documents executed in connection herewith; (c) this Stipulation and any documents prepared in

connection herewith shall have no residual or probative effect or value and it shall be as if they

had never been executed and (d) this Stipulation and any statements made in connection herewith

may not be used as evidence in any litigation between the parties.

           10.     This Stipulation is being entered into solely as a settlement of issues and does not

represent an admission by any of the parties of the validity of any liability or defense with

respect to matters set forth herein.

           11.     The Bankruptcy Court shall retain jurisdiction to enforce this Stipulation and all

matters relating thereto.




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